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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,
                    Plaintiff,

vs.                                                         No. 19-CR-3113-JB

ROSE ANN ROMERO,
                              Defendant.

                  NOTICE OF REMOTE APPEARANCE AT HEARING

       COMES NOW Defendant Rose Ann Romero, by and through her Court appointed

counsel of record, Ahmad Assed, Esq., Richard J. Moran, Esq., and Britany J. Schaffer, Esq. and

hereby provides notice to the Court of her intent along with counsel Britany J. Schaffer to attend

the Omnibus Motion hearing set on March 30, 2021 at 1:30 p.m. by Zoom. A separate signed

waiver of personal appearance for Ms. Romero, who is currently residing in Las Vegas, NM,

shall be submitted.

                                                     Respectfully submitted,
                                                      /s/ Britany J. Schaffer
                                                     Britany J. Schaffer
                                                     Ahmad Assed & Associates
                                                     818 5th St. NW
                                                     Albuquerque, NM 87102
                                                     505/246-8373
                                                     Fax 505/246-2930
                                                     Attorney for Defendant
                                                     Rose Ann Romero
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I hereby certify that a copy
of the foregoing was delivered
via CM/EMF to all parties to
this cause on March 29, 2021.

/s/ Britany J. Schaffer
Ahmad Assed
